38 F.3d 1213NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Alexander HINES, Petitioner Appellant,v.Parker EVATT, Commissioner, South Carolina Department ofCorrections;  Attorney General of South Carolina,Respondents Appellees.
    No. 93-6247.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 16, 1993Decided:  Oct. 14, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Solomon Blatt, Jr., Senior District Judge.  (CA-92-20-3-8AJ)
      Alexander Hines, Petitioner Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, SC, for Respondents.
      D.S.C.
      DISMISSED.
      Before WIDENER, WILKINSON, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Alexander Hines seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Hines v. Evatt, No. CA-92-20-3-8AJ (D.S.C. Feb. 24, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    